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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS
TYLER DIVISION’

CHRIMAR SYSTEMS, INC., et al.,

v.
Civil Action No. 6:15-cv-163-JDL

ALCATEL-LUCENT ENTERPRISE,
USA, INC.,,

CP (O? COP CO? (OP CO? WP COD

VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Jury Instructions. Your answers to each question must be unanimous.
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1. QUESTION 1- INVALIDITY

Did ALE prove by clear and convincing evidence that any of the asserted claims of the
following patents are invalid?

If you find the claim invalid, answer “Yes” (Invalid). Otherwise, answer “No” (Not
Invalid).

012 Patent N
Claim 31 0

Claim 35 A d
Claim 43 ‘ o
Claim 60 Nia

°107 Patent
Claim 1 \) »

Claim 5 \) )
Claim 72 No
Claim 103 he

’760 Patent
Claim 1.

No
Claim 59 No
Claim 69
Claim 72. { 16
Claim 145 \ a
°838 Patent
Claim1 No

Claim 7 \ \d
Claim 26 Wie
2. QUESTION 2- DAMAGES

Answer Question No. 2 only if you have found at least one claim in Question No. 1 is not invalid
(i.e. wrote “No” in any blank).

What sum of money do you find by the preponderance of the evidence would fairly and
reasonably compensate Chrimar for ALE’s infringement of the patent claims?

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3. QUESTION 3- FRAUD

Did ALE prove by a preponderance of the evidence that Chrimar committed fraud against
ALE?

Answer “Yes” or “No” N O
4, QUESTION 4- BREACH OF CONTRACT

(a) Did ALE prove by a preponderance of the evidence that Chrimar breached a contract
with the IEEE?

Answer “Yes” or “No” \J O

(b) If you answered ““Yes” to 4(a), did ALE prove by a preponderance of the evidence
that ALE is a third-party beneficiary to the contract between Chrimar and the IEEE
that you found Chrimar to have breached?

 

Answer “Yes” or “No”

 

Signed this / day of October, 2016.
